Case 5:18-cv-00388-TES Document 142-3 Filed 01/22/19 Page 1 of 3



                          EXHIBIT “3”

                 NOTICE OF PUBLIC AUCTION
       Case 5:18-cv-00388-TES Document 142-3 Filed 01/22/19 Page 2 of 3



                            NOTICE OF PUBLIC AUCTION

       John F. Kennedy, solely in his capacity as the Court-appointed receiver (the

“Receiver”) in Case No. 5:18-cv-00388-TES, pending in the United States District Court

for the Middle District of Georgia (the “Court”) hereby posts, pursuant to 28 U.S.C. §§

2001, 2002 and 2004, this notice of his intention to sell the equity interest of or

substantially all assets of the New England College of Business and Finance, LLC d/b/a

New England College of Business (the “Assets”). Subject to the Sale Procedures approved

by the Court by Order dated ____________, _____ (the “Order”), these Assets will be sold

at public auction (the “Auction”) to be held on the 26th day of February, 2019. The Order

controls the terms, conditions and procedure of the Auction, and all interested parties

must comply with the requirements of the Order in order to participate in the Auction.

All sales will be for cash or cash equivalents. All sales will be free and clear of all liens,

claims and encumbrances pursuant to the order of the Court, and any final sale is subject

to applicable regulatory and accrediting approvals. All sales will be “AS IS” and “WHERE

IS” with no representations or warranties of any type except as may otherwise be agreed by

the Receiver in his sole and absolute discretion. In accordance with the terms of the Order,

the Receiver reserves the right to postpone or adjourn the Auction, to accept any bid or

to reject any and all bids that it deems not to comply with the terms of the Order or to be

in the best interests of the receivership estate, or to withdraw any of the assets offered for

sale at any time prior to the announcement of the completion of the Auction. For
       Case 5:18-cv-00388-TES Document 142-3 Filed 01/22/19 Page 3 of 3



additional information on the Auction or the Assets, including further descriptions of

Assets to be sold, and to obtain a copy of the Order, please submit a written request to

Carl Marks Advisory Group, LLC, c/o Joseph R. D’Angelo, 900 Third Ave., 33rd Floor,

New York, NY 10022, telephone (917) 968-9650, email jdangelo@carlmarks.com.

      Dated: _________________, 2019.

                                                      John F. Kennedy, as Receiver

John F. Kennedy
JAMES, BATES, BRANNAN, GROOVER LLP
231 Riverside Drive
Macon, Georgia 31201
Phone 478/742-4280
Fax 478/742-8720

To be published in the Wall Street Journal and the Boston Globe in its issues of
________________________________.
